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 TORGER OAAS
 ATTORNEY AT LAW
 618 West Main; Suite 201
 Post Office Box 76
 Lewistown, Montana 59457
 (406) 538-2338
 oaaslaw@midrivers.com
 Attorney for Plaintiff

 WILLIAM E. BERGER
 WILKINS & BERGER
 P0 Box 506
 Lewistown, MT 59457
 (406) 538-9272
 Attorney for Plaintiff


               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION

 GiNA JAEGER, individually, AND AS              CV- I 6-30-BU-SEH
 PERSONAL REPRESENTATIVE OF THE
 ESTATE OF HER SISTER CHARLENE
 HILL,
                                           AMENDED COMPLAINT /
               Plaintiff,                     DEMAND FOR
                                               JURY TRIAL
        VS.


 WILLIAM POWELL, DANA WADDELL,
 AMBER DAYHUFF, PEAK MEDICAL
 MONTANA OPERATIONS, LLC AND
 GENESIS HEALTHCARE, INC.,

              Defendants.


 Alle2ations as to Citizenship:

         1. Gina Jaeger is a citizen of the State of Montana and resident of
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           Lewistown, Montana. The estate of Charlene Hill is being

           probated in Montana and for diversity purposes, the estate is a

           citizen of Montana.

        2. William Powell is a citizen of Montana and resides in Butte,

           Montana.

        3. Dana Waddell is a citizen of Montana and resides in Butte,

           Montana.

        4. Amber Dayhuff is a Montana citizen and resides in Butte,

           Montana.

        5. Peak Medical Montana Operations, LLC is a limited liability

           company organized in the State of Delaware and is a citizen of the

           State of Delaware.

        6. Genesis Healthcare, Inc. is a corporation organized under the laws

           of the State of Delaware with its principal place of business in

           California.   Its' headquarters are located in the State of

           Pennsylvania and thus Genesis Healthcare, Inc. is a citizen of the

           State of Pennsylvania for diversity purposes.

 General Alle2ations

       1. Peak Medical Montana Operations, LLC operates a skilled nursing

          facility in Butte, Montana known as the Butte Center. This skilled
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         nursing facility is licensed by the State of Montana.

      2. Charlene Hill was admitted to the Butte Center primarily for

         rehabilitative services on 8/13/2015.

      3. At the time of this admission, Charlene Hill was 60 years old. She

         was a diabetic and weighed in excess of 330 lbs. She had a large

         abdominal fold and was incontinent. These conditions put Charlene

         Hill at increased risk for skin breakdown and resulting infections,

         including cellulitis and infected pressure sores.

      4. On 8/25/2015, just 12 days after her admission, Charlene Hill was

         taken by ambulance to St. James Community Hospital in Butte,

         Montana. Upon arrival there, she was diagnosed with the following

         conditions:

                   1.   Pneumonia
                   2.   Two infected pressure sores
                   3.   Cellulitis
                   4.   Yeast Infection
                   5.   Sepsis
                   6.   Septic Shock

         Charlene Hill did not have any of these adverse health conditions

         when she was admitted to the Butte Center on 8/13/2015.

       5. On 8/25/20 15, shortly after her admission to St. James Hospital,

         Charlene Hill suffered a cardiac event from which she never

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         regained consciousness. Charlene Hill died on 9/2/20 15.

      6. Charlene Hill's remains were autopsied by Jaime L. Oeberst, M.D.,

         Montana's Chief Medical Examiner. Dr. Oeberst concluded that the

         cause of her death was septic shock from cellulitis.

 Personal Liability Alle2ations A2ainst William Powell. (NeIience)

        7. William Powell was the director of the Butte Center in 2015. As

           the director of the Butte Center, Powell was responsible for

           providing proper medical equipment and supplies to Charlene Hill,

           including a wheelchair and recliner. However, the wheelchair and

           recliner provided for her use were too small and not sufficiently

           cushioned. Charlene Hill's use of these items contributed to the

           creation of open wounds and pressure sores on her legs creating

           sources for infections like cellulitis. William Powell was aware,

           or should have been aware, of the damages to Charlene Hill from

           the use of these items. Under existing state common and statutory

           law and relevant federal law and regulations, William Powell had

           a duty to provide proper equipment and supplies to Charlene Hill.

           William Powell breached this duty as set out above and Charlene

           Hill was injured as a result. William Powell's negligence was a

           cause of Charlene Hill's infections and subsequent death, and
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           Plaintiff has been damaged by defendant's negligence.

 Personal liability allegations against Dana Waddell and Amber Dayhuff

 (Negligence)

        8. Dana Waddell was employed at the Butte Center as an LPN.

           Amber Dayhuff was employed at the Butte Center as an RN. Both

           Waddell and Dayhuff were involved in the day to day care of

           Charlene Hill.

           On 8/22/15, Dana Waddell observed open bleeding areas near

           Charlene Hill's abdomen. On 8/23/15, Dana Waddell noted that

           there was a very pungent yeast odor coming from Charlene Hill's

           body which indicates infection. On 8/24/15, Amber Dayhuff

           observed two large open and bleeding areas on back of Charlene

           Hill's legs and thighs that could not be properly bandaged. On

           8/24/15, Dana Waddell observed that the skin on the back of

           Charlene Hill's thighs were broken and bloody.

           None of these observations were reported to the nursing director or

           Charlene Hill's attending physician. Dana Waddell and Amber

           Dayhuff had common law, state and federal law duties to report

           these conditions to either the nursing director or attending

           physician. Dana Waddell and Amber Dayhuff breached these
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           duties by failing to make a report of these conditions. These

            failures to report caused Charlene Hill to develop cellulitis which

           ultimately led to her death and caused Plaintiff injury.

 Vicarious Liability of Peak Medical Montana Operations, LLC

        9. William Powell, Amber Dayhuff and Dana Waddell were

           employees of the Butte Center in 2015. Peak Medical Montana

           Operations, LLC operates the Butte Center and is vicariously

            liable for the negligence of Powell, Dayhuff and Waddell as set

            forth above.

 Liability of Genesis Healthcare, Inc.

         1 0.Peak Medical Montana Operations, LLC is a subsidiary of Genesis

            Healthcare, Inc. As the parent company, Genesis Healthcare, Inc.

            has an ownership interest in Peak Medical Montana Operations,

            LLC.

         11 .Genesis Healthcare, Inc. exerts such control over the operations of

           Peak Medical Montana Operations, LLC that Peak Medical

            Montana Operations, LLC is the mere agent or instrumentality of

            Genesis Healthcare, Inc.

            The two entities have the same address, which happens to be the

            headquarters for Genesis Healthcare, Inc. The two entities operate
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           the same type of business - for profit nursing homes.

           Genesis Healthcare, Inc. has copyrighted a code of conduct that

           governs the day to day operations of all of its subsidiaries that

           operate nursing homes, including the Butte Center.

           This code of conduct applies to all aspects of nursing home

           operations, including patient care, billing, maintenance, patient

           records and all other facets of operation.

           The code of conduct applies to all employees of all subsidiaries, so

           it governs the day to day conduct of the Butte Center employees.

           It requires these employees to uphold the principles of Genesis

           Healthcare, Inc. The code of conduct governs reporting issues,

           professional standards, which include a provision that Genesis

           Healthcare, Inc. does not tolerate any type of abuse or neglect.

           The code governs licensure of employees, disciplinary procedures

           and resolution of employee complaints.

           The code specifies the type of patient care required and sets forth

           patient rights. The code sets forth the legal and regulatory

           standards that govern employee conduct and the proper

           maintenance of all financial records and has specific procedures

           regarding HIPPA compliance.
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            The use by Genesis Healthcare, Inc. of Peak Medical Montana

            Operations, LLC as its agent or instrumentality prevents Plaintiff

            from holding Genesis Healthcare, Inc. legally accountable for the

            action(s) or inaction(s) of the Butte Center employees responsible

            for the care of Charlene Hill. This constitutes bad faith in the

            corporate veil piercing context and makes Genesis Healthcare, Inc.

            jointly and severally liable with Peak Medical Montana

            Operations, LLC in this matter as its corporate identity, in equity,

            should be disregarded based upon the foregoing allegations.

 Relief Requested

       1.    Compensation for all damages allowed under Montana law for

      wrongful death and survivorship claims;

      2.     For punitive damages as determined by the jury;

      3.     For Plaintiffs costs of suit;

      4.     For such other relief as the Court deems proper.

      5.     Plaintiff demands trial by jury.




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            DATED this 2 day of August, 2016.

                                        Is! Torger Oaas
                                      TORGER OAAS
                                      Co-counsel for Plaintiff

                                        Is! William E. Berger
                                      WILLIAM E. BERGER
                                      Co-counsel for Plaintiff




                        CERTIFICATE OF SERVICE
      I hereby certify that on the 2nd day of August, 2016, a true copy of the
foregoing was served on the following person(s) via Electronic Filing:

Kiely Keane                              Marcia Devenport
Crowley, Fleck, PLLP                     Crowley, Fleck, PLLP
P.O. Box 797                             P.O. Box 797
Helena, MT 59624                         Helena, MT 59624

Brett P. Clark                          Charles K. Smith
Crowley, Fleck, PLLP                    Crowley, Fleck, PLLP
P.O. Box 797                            65 East Broadway, Ste 400
Helena, MT 59624                        Butte, MT 59701


                                      By:    Is! Torger Oaas
                                             TORGER OAAS
                                             Co-counsel for Plaintiff




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